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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                         Defendant .

      REPLY TO THE GOVERNMENT’S OPPOSITION TO SANCTIONS


In ECF No. 393, I motioned the Court to sanction the government for violating my civil rights.

On page 8 of that motion, I noted that should the government not withdraw ECF No. 392 (which

raised false allegations against me which this Court has already dismissed with prejudice), I

would expand the movement for sanctions to include the broader D.C. U.S. Attorneys Office.

Since the government did not withdraw, ECF No. 392, but instead U.S. Attorney Ed Martin

personally doubled down on those false allegations in ECF No. 396, I am moving that the Court

also specifically sanction Mr. Martin. The government’s opposition to my motion for sanctions

did not refute any of the points I raised. Rather the government’s attempt at redirection again

underscored the fact that the U.S. attorneys in this district do not respect the civil rights

enshrined in our Constitution. Most alarming to me is the fact that Mr. Martin told me personally

that I was allowed to keep the discovery in my case notes, and he asked me to submit a motion

requesting the full government file of my case, but he has now used this as an opportunity to

oppose what he requested I file while kicking me with false allegations. This abuse of process by

the government should not be tolerated by this Court. I therefore stress the need for sanctions.
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Factual Background

       On January 20, 2025, I learned (while freezing in line to get into the Liberty Inaugural

Ball) that President Trump had ordered the government to dismiss the indictment against me. At

some point later in the night, I ran into Ed Martin inside the ball, who had just been appointed

the acting U.S. Attorney for the District of Columbia. During the course of our brief

conversation, Mr. Martin congratulated me on the dismissal and suggested that I file a request for

the full file the government had collected on my case and any other requests I might have. I did

not bring this idea up to Mr. Martin; he suggested I do it without me asking him. Since I was in

favor of the idea, I told Mr. Martin that I would file the request and I also asked him if he was ok

with me keeping all the discovery that I had collected throughout the course of my defense. Mr.

Martin told me directly that I was permitted to do so. This is a fact.

       On January 3, 2025, I contacted Mr. Martin informing him that, “I will be filing

something to request my full case file and other outstanding requests. If you want to review the

full list prior to me filing, please give me a DOJ contact I should email.” I did this as a courtesy

attempt to confer with the government on the full details of the request I would be submitting in

accordance with the Federal Rules of Criminal Procedure, Rule 16.1, prior to formally filing the

request that Mr. Martin had suggested. However, Ed responded, “better to file it.”

       After this, I began drafting a formal motion. On the morning of January 28, 2025, an

acquaintance of Mr. Martin contacted me saying that, “Ed wants to know if you made that

motion demanding your file. If not are you and when do you think?” At that moment I was

finishing up my motion, so I responded that, “it’s coming today.” That day, I filed ECF No. 391.
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        I did not expect any government opposition to my motion, since this was Mr. Martin’s

suggestion to begin with, however, on February 11, 2025, the government filed ECF No. 392 in

opposition to my motion, and the government also cross-motioned for the return of all files that

Mr. Martin had told me directly that I was allowed to keep. To put it lightly, I was stunned. In

addition to the unexpected opposition, the government’s motion repeated the same false

allegations that this Court had already dismissed with prejudice. Because of that, I filed a motion

for sanctions, ECF No. 393, which describes the justifications for sanctions in full detail. Since

ECF No. 392, seemed to completely contradicted everything Mr. Martin had told me in person, I

assumed that it must have been the work of a rogue prosecutor, since it was being reported in the

news that people inside his office were undermining his directives. However, for ECF No. 396,

Mr. Martin put his name in the first paragraph of the filing and defended the egregious

allegations the government made in ECF No. 392. Because of this, I can no longer assume that

Mr. Martin is not complicit, and I must now include him in my motion for sanctions.1 Had this

simply been a matter of Mr. Martin changing his mind, he should have told me so. But since Mr.

Martin, through the government oppositions, has also tried to deny that he gave me permission to

keep the discovery (which is irreversibly intertwined in my case notes), and since Mr. Martin has

used this as an opportunity to cast allegations against me after they have been dismissed by this

Court (when I no longer have an opportunity to confront these allegations in trial), this feels like

a great betrayal. More than that, since Mr. Martin is the one who raised the issue and directly

suggested I file the request, this feels like a setup. This level of treachery is typically only seen

outside of Washington D.C. in poker cheats, horse thieves and backshooters.




1
  I am also alarmed that Mr. Martin would try to claw back discovery rather than make it public. Why is he now
trying to cover up the truth about January 6? Wasn’t this supposed to be the most transparent administration?
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The Government’s Opposition to Sanctions

         In ECF No. 396, the government opposed my motion for sanctions, ECF No. 393, but the

government did not refute the points I made about their violations of my Fifth and Sixth

amendment rights. While the government claims they are respecting my presumption of

innocence, the government also strangely claims they have a right to assert “facts” that have not

been weighed by a jury as factual. The entire point of my motion for sanctions was that the

allegations against me were withdrawn by the government, and thus the government forfeited

their opportunity to cast these accusations or dispute facts.2

         Rather than concede this, the government doubled down on their Constitutional error by

claiming that witness testimony in my brother’s bench trial should be held against me. This again

violated my Sixth Amendment right because I never had the opportunity to confront those

accusers. For the government to continue to wield these accusations against me without allowing

me an opportunity to confront them is completely juvenile and unconstitutional. Furthermore, no

jury ever heard the testimony of those accusers in my brother’s case, and this Court was allowing

my brother to move for retrial because the bogus obstruction charge was still hanging over him at

the time, which made my brother elect not to testify on his own behalf.

         The government also claims that my actions are documented in video footage. This is

true, but the entire point of my defense was to dispute the government’s incorrect interpretation

of events. The footage shows me being entirely peaceful and clearly shows a man in military

gear pushing me into the Capitol. The government chose to ignore those basic facts on video for

four years, so they could instead create a false narrative of events to defame me publicly. Indeed,


2
  It is not the government’s right to decide facts – only a jury has that privilege. A judge decides the law and the
jury decides the facts. A government can only decide the accusations, which this government decided to dismiss.
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the government also initially claimed that I obstructed an official proceeding and blocked ingress

and egress, but those charges were dismissed because they were not supported by the facts on

video. The remaining charges that were dismissed due to the President’s executive order were

not supported by video either! Had this case gone to trial, I would have won decisively.

         And as I noted in ECF No. 393 at 7, now that the case against me has been dismissed by

this Court with prejudice, there is absolutely no reason for the government to continue disputing

their erroneous interpretation of the facts. To do so violates the standards of ethical conduct that

all attorneys must hold themselves to. There is no point in the government reciting these false

claims, because as the American Bar Association Rule 3.8 points out, doing so does not serve a

law enforcement purpose.

         It is incredible that I, a Pro Se Officer of the Court, must remind these backslidden

doctors of law of their basic ethical duties and the introductory principles of our Constitution.3

         As for the government’s egregious behavior during my evidentiary tour of the Capitol,

they absolutely did try to spy on my notes and on my standby counsel’s media recordings, and

Mrs. Cubbage can attest to those facts. In fact, if they wish to dispute it, let them pull the CCTV

that showed their FBI agent swooping in behind me!

         Just because I did not confront the government about this during our tour does not mean

it did not happen or that I was not furious about the government’s conduct at the time. Rather, I

chose to not make it an issue of it then, because the last thing I wanted to do while facing charges

related to the Capitol was to get into a confrontation with the government’s stooges while inside



3
 As part of his sanctions, perhaps Mr. Martin needs a legal refresher course. If the Court would like to prescribe
one, I would be willing to tutor Mr. Martin on the basics of practicing law on Tuesdays and Thursdays.
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the United States Capitol.4 However, as the Court will recall, I did raise the issue of the

government’s misbehavior during our October 23, 2024, status hearing, and I am well within my

right to move for sanctions against the government for their egregious conduct during the tour.

           Since the government has failed to refute their violations of my civil rights, I move for

the Court to enact severe sanctions against Mr. Martin and each of the AUSAs who were

previously named. While I came to expect this type of duplicity from AUSA Kearney (See ECF

No. 387) and the other prosecutors who were assigned to my case, I am shocked that the same

contagion has overtaken Mr. Martin. I do not delight in going after Ed, since I had thought him

to be a better man, but Mr. Martin should know that if he he kicks me in legal filings, I will kick

back. So, I do not move for these sanctions lightly, but I do so for the right reasons. The

government’s behavior cannot be tolerated by me, and it should not be allowed by this Court.

           Submitted very respectfully to the Court,




                                                                By: William Pope

                                                                     /s/
                                                                William Pope
                                                                Pro Se Officer of the Court
                                                                Topeka, Kansas




4
    Unlike the prosecution team, I always conduct myself in a dignified manner while inside the United States Capitol.
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    Figure 1: Mr. Martin and I at the Liberty Inaugural Ball shortly after he told me I could keep my case files.




                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on March 5, 2025.
                                              /s/
                              William Alexander Pope, Pro Se
